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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                        Case No.:   3:98-cr-336-HLA-JBT-1

    MICHAEL KEITH DELANCY



                                       ORDER

            This case is before the Court on Defendant Michael Keith Delancy’s

    Motion for Compassionate Release (Doc. 482), the government’s response in

    opposition (Doc. 483), and Defendant’s reply brief (Doc. 486). The United States

    shall advise the Court, no later than April 26, 2021, whether Defendant has

    received or been offered the Covid-19 vaccine.

            DONE AND ORDERED at Jacksonville, Florida this 20th day of April,

    2021.




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    Copies:
    Counsel of record
    Defendant




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